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                        IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE
 -----------------------------------------------------------X
                                                            :
                                                            : Chapter 11
In re                                                       :
                                                            : Case No. 09-10138 (KG)
                                            1
NORTEL NETWORKS INC., et al.,                               :
                                                            : Jointly Administered
                                    Debtors.                : Hearing date: December 2, 2009 at 11:00 a.m. (ET)
                                                                            Objections due: November 25, 2009 at 4:00 p.m. (ET)
                                                               :
    -----------------------------------------------------------X

 NOTICE OF DEBTORS’ MOTION PURSUANT TO SECTIONS 501, 502 AND 1111(a)
  OF THE BANKRUPTCY CODE, BANKRUPTCY RULES 2002 AND 3003(c)(3) AND
LOCAL RULE 2002-1(e) FOR AN ORDER ESTABLISHING DEADLINES FOR FILING
     PROOFS OF CLAIM AGAINST NORTEL NETWORKS (CALA) INC. AND
          APPROVING FORM AND MANNER OF NOTICE THEREOF

                PLEASE TAKE NOTICE that the debtors and debtors-in-possession
(collectively, the “Debtors”) in the above-captioned cases, have today filed and served the
attached Debtors’ Motion Pursuant To Sections 501, 502 And 1111(a) Of The Bankruptcy
Code, Bankruptcy Rules 2002 And 3003(c)(3) And Local Rule 2002-1(e) For An Order
Establishing Deadlines For Filing Proofs Of Claim Against Nortel Networks (CALA) Inc.
And Approving Form And Manner Of Notice Thereof (the “Motion”).

               PLEASE TAKE FURTHER NOTICE that any party wishing to oppose the entry
of an order approving the Motion must file a response or objection (“Objection”) if any, to the
Motion with the Clerk of the United States Bankruptcy Court for the District of Delaware, 824
Market Street, 3rd Floor, Wilmington, Delaware 19801 on or before November 25, 2009 at 4:00
p.m. (ET) (the “Objection Deadline”).

                At the same time, you must serve such Objection on counsel for the Debtors so as
to be received by the Objection Deadline.



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           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number, are:
           Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769), Nortel
           Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251), CoreTek,
           Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical Components
           Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks
           International Inc. (0358), Northern Telecom International Inc. (6286) and Nortel Networks Cable Solutions Inc. (0567)
           and Nortel Networks (CALA) Inc. (4226). Addresses for the Debtors can be found in the Debtors’ petitions, which are
           available at http://chapter11.epiqsystems.com/nortel.
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           PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION
WILL BE HELD ON DECEMBER 2, 2009 AT 11:00 A.M. (ET) BEFORE THE
HONORABLE KEVIN GROSS AT THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 MARKET STREET, 6TH FLOOR, COURTROOM #3,
WILMINGTON, DELAWARE 19801. ONLY PARTIES WHO HAVE FILED A TIMELY
OBJECTION WILL BE HEARD AT THE HEARING.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OR HEARING.


Dated: November 12, 2009        CLEARY GOTTLIEB STEEN & HAMILTON LLP
       Wilmington, Delaware
                                James L. Bromley
                                Lisa M. Schweitzer
                                One Liberty Plaza
                                New York, New York 10006
                                Telephone: (212) 225-2000
                                Facsimile: (212) 225-3999

                                    - and -

                                MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                                /s/ Ann C. Cordo
                                Derek C. Abbott (No. 3376)
                                Eric D. Schwartz (No. 3134)
                                Ann C. Cordo (No. 4817)
                                Andrew R. Remming (No. 5120)
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                                P.O. Box 1347
                                Wilmington, Delaware 19899-1347
                                Phone: (302) 658-9200
                                Facsimile: (302) 658-3989

                                Counsel for the Debtors
                                and Debtors in Possession
3231124.1
